                     Case 4:13-cr-00007-JRH-CLR Document 710 Filed 03/16/15 Page 1 of 1
AO 247 (10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(cX2)                               Page I of 2 (Page 2 Not for Public Disclosure)




                                                               UNITED STATES DISTRICT COURT
                                                                               for the
                                                                     Southern District of Georgia
                                                                         Savannah Division

                       United States of America                                         )
                                         V.                                             )
                                                                                            Case No: 4:13-CR-00007-8
                                  Jarvis King                                           )



                                                                                        ) USMNo: 17920-021
Date of Original Judgment:         January 22, 2014                                     ) Larry W. Fouche
Date of Previous Amended Judgment: N/A                                                  ) Defendant's Attorney
(Use Date of Last Amended Judgment, fany)


                                          Order Regarding Motion for Sentence Reduction Pursuant to IS U.S.C. § 3582(c)(2)


        Upon motion ofthe defendant              the Director of the Bureau of Prisons Ethe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I 1 .1 0 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED. R
            X GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the lastfudg,nent
              issued) of 57     months is reduced to                      time served


                                                    (Complete Parts I and II of Page 2 when motion is granted)




                                                                                                         U. S. DISTRICT COURT
                                                                                                         Southern District of Ga.
                                                                                                              Filed in Office



                                                                                                                  Deputy 'Clerk




Except as otherwise provided above, all provisions of the judgment dated January 22, 2014,                              shall remain in el'k'ct.
IT IS SO ORDERED.

Order Date:             111"O &'c'
                                                                                                               Judge's si#Tafure



                                                                                            William T. Moore, Jr.
                                                                                            Judge, U.S. District Court
Effective Date: November 1. 201 5                                                           Southern District of Georgia
                          (ifdfferentfro,n order date)                                                       Printed name and title
